Case 1:14-ml-02570-RLY-TAB Document 7682-2 Filed 02/16/18 Page 1 of 3 PageID #:
                                  41809




                        EXHIBIT B
      Case 1:14-ml-02570-RLY-TAB Document 7682-2 Filed 02/16/18 Page 2 of 3 PageID #:
                                        41810

Jake Gebelle

From:                  jgebelle@yourlegalhelp.com
Sent:                  Thursday, February 08, 2018 5:00 PM
To:                    CookFilterMDL@faegrebd.com
Subject:               CookFilterMDL




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   Explorer users who wish to send multiple documents will need to either attach files one at a time or place the files in
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   If you have any problems with this process, email your questions to CookFilterMDL@FaegreBD.com. We will
   respond as soon as possible.

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           Furney, Sherri - Auths.pdf
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           675.64 KB

           Furney, Sherri - PPS (COOK).pdf
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        Case 1:14-ml-02570-RLY-TAB Document 7682-2 Filed 02/16/18 Page 3 of 3 PageID #:
                                          41811

Jake Gebelle

From:                  Jake Gebelle
Sent:                  Thursday, February 08, 2018 4:29 PM
To:                    'CookFilterMDL@FaegreBD.com'; 'CookFilterFileclerk@FaegreBD.com';
                       'Liz.Whitelegg@FaegreBD.com'
Subject:               Sherri Furney, et al. v. Cook Incorporated, et al. - 17-cv-4324 - PPS, Auths, and Medical Records


Counsel,

The above referenced information has been submitted via https://sft.faegrebd.com/envelope/CookFilterMDL for (1)
Sherri Furney. Please contact me if you need anything further.

Best regards,

Jake Gebelle




Jacob A. Gebelle
Wright & Schulte, LLC
865 S. Dixie Dr.
Vandalia, Ohio 45377
Phone: (937) 435‐7500
Toll‐Free: 1‐800‐399‐0795
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